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                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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       MEGAN SCHMITT, DEANA                            Case No. 8:17-cv-01397-JVS-JDE
       REILLY, CAROL ORLOWSKY, and
  19
       STEPHANIE MILLER BRUN,                          SECOND AMENDED CLASS
       individually and on behalf of                   ACTION COMPLAINT
  20
       themselves and all others similarly
       situated,                                       JURY TRIAL DEMANDED
  21                Plaintiffs,
              v.                                       The Hon. James V. Selna
  22                                                   Santa Ana, Courtroom 10C
       YOUNIQUE, LLC,
  23                Defendant.                         Complaint Filed: 8/17/17
                                                       Trial Date: None Set
  24

  25
             Plaintiffs Megan Schmitt, Deana Reilly, Carol Orlowsky, and Stephanie
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       Miller Brun (“Plaintiffs”), individually and on behalf of all others similarly situated,
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       by their attorneys, allege the following upon information and belief, except for those
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   1 allegations pertaining to Plaintiffs, which are based on their personal knowledge:

   2                             NATURE OF THE ACTION
   3        1.    This action seeks to remedy the deceptive and misleading business
   4 practices of Younique, LLC (“Younique” or “Defendant”) with respect to the

   5 marketing and sales of Younique Moodstruck 3D Fiber Lashes (the “Product”).

   6        2.    Younique represented on its packaging that the Product was natural and
   7 contained green tea fibers, when in reality the fibers were just ground-up nylon.

   8        3.    The Product is a mascara that is designed to enhance the appearance of
   9 eyelashes. The mascara consists of two components, a “Transplanting Gel” and

  10 “Natural Fibers.”

  11        4.    Until 2015, Defendant manufactured, sold, and distributed the Product
  12 using a multilevel marketing campaign centered around claims that appeal to health-

  13 conscious consumers, i.e., that the Natural Fibers were “natural” and consisted of

  14 “100% Natural Green Tea Fibers.” However, Defendant’s advertising and marketing

  15 campaign was false, deceptive, and misleading because the so-called “Natural

  16 Fibers” did not contain any green tea leaves and were, in fact, composed of ground-

  17 up nylon, which is not a “natural” substance.

  18        5.    Plaintiffs and those similarly situated (“Class Members”) relied on
  19 Defendant’s misrepresentations that the Natural Fibers were “Natural” and consisted

  20 of “100% Natural Green Tea Fibers” when purchasing the Product. Plaintiffs and

  21 Class Members paid a premium for the Product over and above comparable products

  22 that did not purport to be “natural.” Plaintiffs and Class Members sustained

  23 monetary damages.

  24        6.    Defendant’s conduct violated the federal Magnuson-Moss Warranty
  25 Act, state consumer protection laws, and state warranty laws. Accordingly, Plaintiffs

  26 bring this action against Defendant on behalf of themselves and Class Members who

  27 purchased the Product during the applicable statute of limitations periods (the “Class
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   1 Period”).

   2                                                      FACTUAL BACKGROUND
   3              7.         Consumers have become increasingly concerned about the effects of
   4 synthetic and chemical ingredients in food, cleaning products, bath and beauty

   5 products and everyday household products. Companies such as Younique have

   6 capitalized on consumers’ desires for purportedly “natural” products. Indeed,

   7 consumers are willing to pay, and have paid, a premium for products branded

   8 “natural” over products that contain synthetic ingredients. In 2015, sales of natural

   9 products grew 9.5% to $180 billion. 1 Reasonable consumers, including Plaintiffs

  10 and the Class Members, value natural products for important reasons, including the

  11 belief that they are safer and healthier than alternative products that are not

  12 represented as “natural.”

  13              8.         From 2012 to at least 2015, Defendant marketed the Natural Fibers
  14 component of the Product as being “natural” and consisting of “100% Natural Green

  15 Tea Fibers.” The Product’s labeling during that time is depicted below:

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  25               1 Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD NAVIGATOR, http://www.foodnavigator-

       usa.com/Markets/EXPO-WEST-trendspotting-organics-natural-claims/(page)/6; see also Shoshanna Delventhal, Study Shows Surge in Demand for
  26   “Natural” Products, INVESTOPEDIA (February 22, 2017), http://www.investopedia.com/articles/investing/022217/study-shows-surge-demand-
       natural-products.asp (Study by Kline Research indicated that in 2016, the personal care market reached 9% growth in the U.S. and 8% i n the U.K.
  27   The trend-driven natural and organic personal care industry is on track to be worth $25.1 million by 2025); Natural living: The next frontier for
       growth? [NEXT Forecast 2017], NEW HOPE NETWORK (December 20, 2016), http://www.newhope.com/beauty-and-lifestyle/natural-living-
       next-frontier-growth-next-forecast-2017.
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                          Younique Moodstruck 3D Fiber Lashes

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  20          9.    Defendant’s representations that the Natural Fibers part of the Product
  21 was “natural” and consisted of “100% Natural Green Tea Fibers” is false,

  22 misleading, and deceptive because the Natural Fibers component contains synthetic

  23 ingredients which are not green tea fibers.

  24          10.   In fact, the supposedly natural green tea fibers were just ground-up
  25 nylon.

  26          11.   Nylon is not “natural.” It is a synthetic polymer created through a
  27 complicated chemical and manufacturing process.
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   1        12.    Consumers lack the meaningful ability to test or independently
   2 ascertain or verify whether the product contains what it says it contains, especially at

   3 the point of sale. Consumers could not know the true nature of the ingredients

   4 merely by reading the ingredients label or packaging which does not disclose that

   5 the Natural Fibers are just ground-up nylon.

   6        13.    Discovering that the ingredients are not “natural” nor “100% Natural
   7 Green Tea Fibers” requires a scientific investigation and knowledge of chemistry

   8 beyond that of the average consumer.

   9     The “Natural Fibers” Misrepresentation
  10        14.    Whether Defendant’s “natural” misrepresentation is deceptive is judged
  11 by an objective standard as to whether it would deceive or mislead a reasonable

  12 person.

  13        15.    A reasonable person would not consider nylon “natural.”
  14        16.    To assist in ascertaining what a reasonable consumer believes the term
  15 natural means, one can look to the regulatory agencies for their guidance.

  16        17.    In 2013, the United States Department of Agriculture (“USDA”) issued
  17 a Draft Guidance Decision Tree for Classification of Materials as Synthetic or

  18 Nonsynthetic (Natural). In accordance with this decision tree, a substance is
  19 natural—as opposed to synthetic—if: (a) it is manufactured, produced, or extracted

  20 from a natural source (i.e. naturally occurring mineral or biological matter); (b) it

  21 has not undergone a chemical change (i.e. a process whereby a substance is

  22 transformed into one or more other distinct substances) so that it is chemically or

  23 structurally different than how it naturally occurs in the source material; or (c) the

  24 chemical change was created by a naturally occurring biological process such as

  25 composting, fermentation, or enzymatic digestion or by heating or burning

  26 biological matter.

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   1        18.    Further, Congress has defined “synthetic” to mean “a substance that is
   2 formulated or manufactured by a chemical process or by a process that chemically

   3 changes a substance extracted from naturally occurring plants, animals, or mineral

   4 sources . . .” 7 U.S.C. § 6502 (21).

   5        19.    Surveys and other market research, including expert testimony
   6 Plaintiffs intend to introduce, will demonstrate that the term “natural” is misleading

   7 to a reasonable consumer because the reasonable consumer believes that the term

   8 “natural,” when used to describe goods such as the Product, means that the goods

   9 are free of synthetic ingredients.

  10        The “100% Natural Green Tea Fibers” Misrepresentation
  11        20.    Whether the Product contains only natural green tea fibers can be
  12 determined with objective factual evidence.

  13        21.    Plaintiffs have determined that the Natural Fibers component of the
  14 Product contained ground-up nylon from 2012 to 2015, the time Defendant

  15 represented that the Natural Fibers were “natural” and “100% Natural Green Tea

  16 Leaves.”

  17        22.    The marketing of the Product as “Natural” and as consisting of “100%
  18 Natural Green Tea Fibers” in a prominent place on the label of the Product,
  19 throughout the Class Period, demonstrates Defendant’s awareness that these claims

  20 are material to consumers.

  21        23.    Defendant’s deceptive representations and omissions are material in
  22 that a reasonable person would attach importance to such information and would be

  23 induced to act upon such information in making purchase decisions.

  24        24.    Plaintiffs and the Class members reasonably relied to their detriment on
  25 Defendant’s misleading representations and omissions.

  26        25.    In making the false, misleading, and deceptive representations and
  27 omissions described herein, Younique knew and intended that consumers would pay
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   1 a premium for a Product labeled “Natural” and which supposedly consisted of

   2 “100% Natural Green Tea Fibers” over comparable products not so labeled.

   3           26.      As an immediate, direct, and proximate result of Younique’s false,
   4 misleading, and deceptive representations and omissions, Younique injured

   5 Plaintiffs and the Class members in that Class members:

   6                 a. Paid a sum of money for a Product that was not what Younique
   7                    represented;
   8                 b. Paid a premium price for a Product that was not what Younique
   9                    represented;
  10                 c. Were deprived of the benefit of the bargain because the Product
  11                    they purchased was different from what Defendant warranted; and
  12                 d. Were deprived of the benefit of the bargain because the Product
  13                    they purchased had less value than what Younique represented.
  14           27.      Had Defendant not made the false, misleading, and deceptive
  15 representations and omissions, Plaintiffs and the Class members would not have

  16 been willing to pay the same amount for the Product or would not have purchased it

  17 at all.

  18           28.      Consequently, Plaintiffs and the Class members have suffered injury in
  19 fact and lost money as a result of Defendant’s wrongful conduct.

  20                                   JURISDICTION AND VENUE
  21           29.      This Court has subject matter jurisdiction under the Class Action
  22 Fairness Act, 28 U.S.C. section 1332(d) in that: (1) this is a class action involving

  23 more than 100 class members; (2) Plaintiffs are citizens of the States of California,

  24 Florida, Tennessee and Ohio, and Defendant Younique, LLC, is a citizen of the

  25 State of Utah; and (3) the amount in controversy is in excess of $5,000,000,

  26 exclusive of interests and costs.

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   1        30.    This Court has personal jurisdiction over Defendant because Plaintiff
   2 Megan Schmitt is a resident of the State of California, Defendant conducts and

   3 transacts business in the State of California, contracts to supply goods within the

   4 State of California, and supplies goods within the State of California.

   5        31.    Venue is proper because Plaintiff Megan Schmitt and many Class
   6 Members reside in this District, and throughout the State of California. A substantial

   7 part of the events or omissions giving rise to the classes’ claims occurred in this

   8 District.

   9                                         PARTIES
  10 Plaintiffs

  11        32.    Plaintiff Megan Schmitt is an individual consumer who, at all times
  12 material hereto, was a citizen of California. During the Class Period Ms. Schmitt

  13 purchased the Product through Younique’s multilevel marketing and distribution

  14 network while in California. Ms. Schmitt purchased the Product for personal use.

  15 Ms. Schmitt paid $29 for the Product. The packaging of the Product Ms. Schmitt

  16 purchased contained the representation that the “Natural Fibers” were “natural”

  17 consisted of “100% Natural Green Tea Fibers.” These representations were

  18 important to Ms. Schmitt and she relied on them in making her purchase decision.
  19        33.    Ms. Schmitt believed that the Natural Fibers component of the Product
  20 did not contain any other ingredients besides natural green tea fibers and that the

  21 fibers were, as described, “natural.”

  22        34.     Ms. Schmitt believes that products which are labeled “Natural” do not
  23 contain synthetic ingredients. Ms. Schmitt believes nylon is a synthetic ingredient.

  24        35.    Had Defendant not made the false, misleading, and deceptive
  25 representation that the Natural Fibers were “Natural” and consisted of “100%

  26 Natural Green Tea Fibers” Ms. Schmitt would not have been willing to pay the same

  27 amount for the Product, and, consequently, she would not have been willing to
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    1 purchase the Product. Ms. Schmitt purchased, purchased more of, and/or paid more

    2 for, the Product than she would have had she known the truth about the Product. The

    3 Product Ms. Schmitt received was worth less than the Product for which she paid.

    4 Ms. Schmitt was injured in fact and lost money as a result of Defendant’s improper

    5 conduct.

    6        36.    Plaintiff Deana Reilly is an individual consumer who, at all times
    7 material hereto, was a citizen of the State of Florida. In early 2015, Ms. Reilly

    8 purchased the Product through Younique’s multilevel marketing and distribution

    9 network while in Florida. Ms. Reilly paid $29 for the Product. Ms. Reilly purchased

   10 the Product for personal use. The packaging of the Product Ms. Reilly purchased

   11 contained the representation that the “Natural Fibers” were “natural” consisted of

   12 “100% Natural Green Tea Fibers.” These representations were important to Ms.

   13 Reilly and she relied on them in making her purchase decision.

   14        37.    Ms. Reilly believed that the Natural Fibers component of the Product
   15 did not contain any other ingredients besides natural green tea fibers and that the

   16 fibers were, as described, “natural.”

   17        38.     Ms. Reilly believes that products which are labeled “Natural” do not
   18 contain synthetic ingredients. Ms. Reilly believes nylon is a synthetic ingredient.
   19        39.    Had Younique not made the false, misleading, and deceptive
   20 representation that the Natural Fibers were “Natural” and consisted of “100%

   21 Natural Green Tea Fibers” Ms. Reilly would not have been willing to pay the same

   22 amount for the Product, and, consequently, she would not have been willing to

   23 purchase the Product. Ms. Reilly purchased, purchased more of, and/or paid more

   24 for, the Product than she would have had she known the truth about the Product. The

   25 Product Ms. Reilly received was worth less than the Product for which she paid. Ms.

   26 Reilly was injured in fact and lost money as a result of Younique’s improper

   27 conduct.
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    1        40.    Plaintiff Stephanie Miller Brun is an individual consumer who, at all
    2 times material hereto, was a citizen of the State of Ohio. In November of 2014, and

    3 several other times, Ms. Brun purchased the Product through Younique’s multilevel

    4 marketing and distribution network while in Ohio. Ms. Brun paid $29 for the

    5 Product. Ms. Brun purchased the Product for personal use. The packaging of the

    6 Product Ms. Brun purchased contained the representation that the “Natural Fibers”

    7 were “natural” and consisted of “100% Natural Green Tea Fibers.” These

    8 representations were important to Ms. Brun and she relied on them in making her

    9 purchase decision.

   10        41.    Ms. Brun believed that the Natural Fibers component of the Product did
   11 not contain any other ingredients besides natural green tea fibers and that the fibers

   12 were, as described, “natural.”

   13        42.     Ms. Brun believes that products which are labeled “Natural” do not
   14 contain synthetic ingredients. Ms. Brun believes nylon is a synthetic ingredient.

   15        43.    Had Younique not made the false, misleading, and deceptive
   16 representation that the Natural Fibers were “Natural” and consisted of “100%

   17 Natural Green Tea Fibers” Ms. Brun would not have been willing to pay the same

   18 amount for the Product, and, consequently, she would not have been willing to
   19 purchase the Product. Ms. Brun purchased, purchased more of, and/or paid more for,

   20 the Product than she would have had she known the truth about the Product. The

   21 Product Ms. Brun received was worth less than the Product for which she paid. Ms.

   22 Brun was injured in fact and lost money as a result of Younique’s improper conduct.

   23        44.    Plaintiff Carol Orlowsky is an individual consumer who, at all times
   24 material hereto, was a citizen of Tennessee. In late 2014 and early 2015 Ms.

   25 Orlowsky purchased the Product through Younique’s multilevel marketing and

   26 distribution network while in Tennessee. Ms. Orlowsky paid $29 for the Product.

   27 Ms. Orlowsky purchased the Product for personal use. The packaging of the Product
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    1 Ms. Orlowsky purchased contained the representation that the “Natural Fibers” were

    2 “natural” consisted of “100% Natural Green Tea Fibers.” These representations

    3 were important to Ms. Orlowsky and she relied on them in making her purchase

    4 decision.

    5        45.    Ms. Orlowsky believed that the Natural Fibers component of the
    6 Product did not contain any other ingredients besides natural green tea fibers and

    7 that the fibers were, as described, “natural.”

    8        46.     Ms. Orlowsky believes that products which are labeled “Natural” do
    9 not contain synthetic ingredients. Ms. Orlowsky believes nylon is a synthetic

   10 ingredient.

   11        47.    Had Defendant not made the false, misleading, and deceptive
   12 representation that the Natural Fibers were “Natural” and consisted of “100%

   13 Natural Green Tea Fibers” Ms. Orlowsky would not have been willing to pay the

   14 same amount for the Product, and, consequently, she would not have been willing to

   15 purchase the Product. Ms. Orlowsky purchased, purchased more of, and/or paid

   16 more for, the Product than she would have had she known the truth about the

   17 Product. The Product Ms. Orlowsky received was worth less than the Product for

   18 which she paid. Ms. Orlowsky was injured in fact and lost money as a result of
   19 Defendant’s improper conduct.

   20 Defendant

   21        48.    Defendant Younique, LLC (“Younique”) is a corporation with its
   22 principal place of business in Lehi, Utah. At all relevant times Younique was

   23 responsible for the manufacture, marketing, advertising, and distribution of the

   24 Product throughout the United States. Younique created and/or authorized the false,

   25 misleading, and deceptive advertisements, packaging and labeling for the Product.

   26 In 2017, Coty Inc., a publicly-traded multinational corporation purchased 60% of

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    1 Younique for $600 million. Younique currently operates within Coty’s “Consumer

    2 Beauty” division.

    3                                CLASS ALLEGATIONS
    4        49.    Plaintiffs bring this matter on behalf of themselves and those similarly
    5 situated. As detailed at length in this Complaint, Younique orchestrated deceptive

    6 marketing and labeling practices. Defendant’s customers were uniformly impacted

    7 by and exposed to this misconduct. Accordingly, this action is suited for classwide

    8 resolution.

    9        50.    The Class is defined as all consumers who purchased the Product
   10 anywhere in the United States during the Class Period (the “Class”).

   11        51.    Plaintiffs also seek certification, to the extent necessary or appropriate,
   12 of subclasses of individuals who purchased the Products in the States of California,

   13 Tennessee, Ohio, or Florida, at any time during the Class Period. The Class and

   14 Subclasses shall be referred to collectively throughout the Complaint as the “Class”

   15 except where indicated.

   16        52.    This action should be certified as a class action under Federal Rule of
   17 Civil Procedure 23(a) and (b)(3). It satisfies the class action prerequisites of

   18 numerosity, commonality, typicality, and adequacy because:
   19        53.    Numerosity: Class Members are so numerous that joinder of all
   20 members is impracticable. Plaintiffs believe that there are thousands of consumers

   21 who are Class Members who have been damaged by Defendant’s deceptive and

   22 misleading practices.

   23        54.    Commonality: The questions of law and fact common to the Class
   24 Members which predominate over any questions which may affect individual Class

   25 Members include, but are not limited to:

   26               a. Whether the Natural Fibers component of the Product contains
   27                  “100% Natural Green Tea Fibers” or not;
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    1               b. Whether the ingredients in the Natural Fibers component of the
    2                  Product are “natural” as that term is objectively understood by a
    3                  reasonable consumer;
    4               c. Whether Defendant made false and/or misleading statements to the
    5                  Class and the public concerning the contents of its Product;
    6               d. Whether Defendant has engaged in unfair, fraudulent, or unlawful
    7                  business practices with respect to the advertising, marketing, and
    8                  sale of the Product;
    9               e. Whether Defendant’s false and misleading statements concerning its
   10                  Product were likely to deceive the public; and
   11               f. The amount of the price premium paid by Plaintiffs and the Class
   12                  Members as a result of the misrepresentations.
   13        55.    Typicality: Plaintiffs are members of the national Class. Ms. Schmitt is
   14 a member of the California Subclass. Ms. Reilly is a member of the Florida

   15 Subclass. Ms. Brun is a member of the Ohio Subclass. Ms. Orlowsky is a member of

   16 the Tennessee Subclass. The claims of the Plaintiffs are typical of the claims of each

   17 Class Member in that every member of the Class was subjected to the same

   18 deceptive, misleading conduct and incurred damages by purchasing the Product.
   19        56.    Adequacy: The Plaintiffs are all adequate Class representatives. None
   20 of their interests conflict with the interests of the Class Members they seek to

   21 represent; their consumer fraud claims are common to all members of the Class and

   22 they have a strong interest in vindicating their rights; and they have retained counsel

   23 competent and experienced in complex class action litigation and they intend to

   24 vigorously prosecute this action.

   25        57.    Predominance: Pursuant to Rule 23(b)(3), the common issues of law
   26 and fact identified above predominate over any other questions affecting only

   27 individual members of the Class. The Class issues fully predominate over any
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    1 individual issue because no inquiry into individual conduct is necessary; all that is

    2 required is a narrow focus on Defendant’s deceptive and misleading marketing and

    3 labeling practices and their objective impact on a reasonable consumer.

    4        58.      Superiority: A class action is superior to the other available methods for
    5 the fair and efficient adjudication of this controversy because:

    6              a. The joinder of thousands of individual Class Members is impracticable,
    7                 cumbersome, unduly burdensome, and a waste of judicial and/or
    8                 litigation resources;
    9              b. The individual claims of the Class Members are relatively modest
   10                 compared with the expense of litigating the claims, thereby making it
   11                 impracticable, unduly burdensome, and expensive—if not totally
   12                 impossible—to justify individual actions;
   13              c. When Defendant’s liability has been adjudicated, all Class Members’
   14                 claims can be determined by the Court and administered efficiently in a
   15                 manner far less burdensome and expensive than if it were attempted
   16                 through filing, discovery, and trial of all individual cases;
   17              d. This class action will promote orderly, efficient, expeditious, and
   18                 appropriate adjudication and administration of Class claims;
   19              e. Plaintiffs know of no difficulties to be encountered in the management
   20                 of this action that would preclude its maintenance as a class action;
   21              f. A class action will assure uniformity of decisions among Class
   22                 Members;
   23              g. The Class is readily definable and prosecution of this action as a class
   24                 action will eliminate the possibility of repetitious litigation;
   25              h. Class Members’ interests in individually controlling the prosecution of
   26                 separate actions is outweighed by their interest in efficient resolution
   27                 by single class action; and
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    1              i. It would be desirable to concentrate in this single venue the litigation of
    2                 all plaintiffs who were induced to purchase the Product by Defendant’s
    3                 uniform false advertising.
    4        59.      Accordingly, this case should be maintained as a class action under
    5 Rule 23(b)(3) because questions of law or fact common to Class Members

    6 predominate over any questions affecting only individual members, and because a

    7 class action is superior to other available methods for fairly and efficiently

    8 adjudicating this controversy.

    9                                   CAUSES OF ACTION
   10

   11
                                FIRST CAUSE OF ACTION
        VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. §
   12    2301, et seq., (Breach of State Law Implied Warranty of Merchantability)
   13
             (On Behalf of Plaintiffs Ms. Schmitt, Ms. Brun and Ms. Orlowsky and
                                         the National Class)
   14

   15        60.      Plaintiffs Schmitt, Brun and Orlowsky repeat and reallege each and
   16 every allegation contained in the foregoing paragraphs as if fully set forth herein.

   17        61.      Plaintiffs Schmitt, Brun and Orlowsky bring this claim individually and
   18 on behalf of all members of the Class. Upon certification, the Class will consist of
   19 more than 100 named Plaintiffs.

   20        62.      The Magnuson-Moss Warranty Act provides a federal remedy for
   21 consumers who have been damaged by the failure of a supplier or warrantor to

   22 comply with any obligation under a written warranty or implied warranty, or other

   23 various obligations established under the Magnuson-Moss Warranty Act, 15 U.S.C.

   24 § 2301, et seq.

   25        63.      An implied warranty of merchantability arose in connection with the
   26 purchases of the Product by Plaintiffs Schmitt, Brun and Orlowsky by operation of

   27 state law under the Magnuson-Moss Warranty Act, 5 U.S.C. § 2301(7).
                                           16
   28
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    1        64.    The Product is a “consumer product” within the meaning of the
    2 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

    3        65.    Plaintiffs Schmitt, Brun and Orlowsky and other members of the Class
    4 are “consumers” within the meaning of the Magnuson-Moss Warranty Act, 15

    5 U.S.C. § 2301(3).

    6        66.    Defendant is a “supplier” and “warrantor” within the meaning of the
    7 Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301(4) & 2301(5).

    8        67.    Defendant made promises and affirmations of fact on the container and
    9 label of the Product that the Product contained “Natural Fibers” and “100% Natural

   10 Green Tea Fibers.”

   11        68.    These promises and affirmations of fact were false. The fibers in the
   12 Product were not natural and did not contain 100% natural green tea fibers.

   13        69.    Accordingly, Defendant breached the implied law of merchantability in
   14 connection with the sale of the Products to Plaintiffs Schmitt, Brun and Orlowsky,

   15 and violated the Magnuson-Moss Warranty Act by breaching the implied warranty

   16 of merchantability.

   17        70.    Consequently, Plaintiffs and the other members of the Class have
   18 suffered injury and are entitled to damages in an amount to be proven at trial, along
   19 with attorney’s fees and costs.

   20
                              SECOND CAUSE OF ACTION
                VIOLATION OF CAL. BUS. & PROF. CODE § 17200, et seq.
   21              (On behalf of Ms. Schmitt and the California Subclass)
   22        71.    Plaintiffs repeat and reallege each and every allegation contained in all
   23 the foregoing paragraphs as if fully set forth herein.

   24        72.    Ms. Schmitt has standing to pursue this claim under California’s Unfair
   25 Competition Law (“UCL”) because she suffered an injury-in-fact and lost money as

   26 a result of Defendant’s unfair practices. Specifically, Ms. Schmitt expended more

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    1 money in the transaction than she otherwise would have due to Defendant’s

    2 conduct.

    3        73.    Advertising and labeling the Product as “natural” and containing
    4 “100% Natural Green Tea Fibers” when it contains only synthetic ingredients and

    5 does not contain green tea fibers constitutes a course of unfair conduct within the

    6 meaning of Cal. Civ. Code § 17200, et seq.

    7        74.    The conduct of the Defendant harms the interests of consumers and
    8 market competition. There is no valid justification for Defendant’s conduct.

    9        75.    Defendant engaged in unlawful business acts and practices by
   10 breaching implied and express warranties, and violating the Consumers Legal

   11 Remedies Act, Cal. Civ. Code § 1750, et seq.

   12        76.    Defendant engaged in fraudulent business practices by knowingly
   13 misrepresenting the Product as “natural” and consisting of “100% Natural Green

   14 Tea Fibers.” Such practices are devoid of utility and outweighed by the gravity of

   15 harm to Ms. Schmitt and the California Subclass who lost money or property by

   16 paying for the Product.

   17        77.    Each of Defendant’s unfair, unlawful, and fraudulent practices
   18 enumerated above was the direct and proximate cause of financial injury to Ms.
   19 Schmitt and the Class. Defendant has unjustly benefitted as a result of its wrongful

   20 conduct. Ms. Schmitt and California Class members are accordingly entitled to have

   21 Defendant disgorge and restore to Ms. Schmitt and California Class members all

   22 monies wrongfully obtained by Defendant as a result of the conduct as alleged

   23 herein.

   24        78.    Ms. Schmitt and the California Subclass do not have an adequate
   25 remedy at law.

   26

   27
                                                  18
   28
                                 SECOND AMENDED CLASS ACTION COMPLAINT
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    1
                               THIRD CAUSE OF ACTION
                VIOLATION OF THE CALIFORNIA CONSUMERS LEGAL
    2               REMEDIES ACT, CAL. CIV. CODE § 1750, et seq.
    3              (On behalf of Ms. Schmitt and the California Subclass)

    4        79.    Plaintiffs repeat and reallege each and every allegation contained in all
    5 the foregoing paragraphs as if fully set forth herein.

    6        80.    The Consumers Legal Remedies Act (“CLRA”) was enacted to protect
    7 consumers against unfair and deceptive business practices. The CLRA applies to

    8 Defendant’s acts and practices because the Act covers transactions involving the

    9 sale of goods to consumers.

   10        81.    Ms. Schmitt and members of the California Subclass members are
   11 “consumers” within the meaning of section 1761(d) of the California Civil Code,

   12 and they engaged in “transactions” within the meaning of sections 1761(e) and 1770

   13 of the California Civil Code, including the purchases of the Products.

   14        82.    Defendant is a “person” under Cal. Civ. Code § 1761(c).
   15        83.    The Products are “goods” under Cal. Civ. Code §1761(a).
   16        84.    Defendant’s unfair and deceptive business practices were intended to
   17 and did result in the sale of the Products.

   18        85.    Defendant violated the CLRA by engaging in the following unfair and
   19 deceptive practices:

   20        86.    Representing that Products have characteristics, uses, or benefits that
   21 they do not have, in violation of section 1770(a)(5);

   22        87.    Representing that Products are of a particular standard, quality, or
   23 grade when they are not, in violation of section 1770(a)(7); and

   24        88.    Advertising Products with the intent not to sell them as advertised, in
   25 violation of section 1770(a)(9).

   26        89.    If Ms. Schmitt and the California Class members had known that the
   27 Products were not “natural” and that they did not contain “100% Natural Green Tea
                                               19
   28
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    1 Fibers” they would not have purchased the Products at all or purchased the Products

    2 at the prices they did.

    3          90.   As a direct and proximate result of Defendant’s conduct, Ms. Schmitt
    4 and the California Class suffered injury and damages in an amount to be determined

    5 at trial.

    6          91.   Pursuant to California Civil Code § 1782(a), On August 23, 2017, Ms.
    7 Schmitt sent Defendant a notice letter via certified mail, return receipt requested,

    8 advising Defendant that it had violated the CLRA and must correct, repair, replace,

    9 or otherwise rectify the goods alleged to be in violation of § 1770.

   10          92.   More than thirty days have passed since Ms. Schmitt sent the letter and
   11 Defendant has not taken remedial action.

   12          93.   Ms. Schmitt seeks monetary relief under the CLRA.
   13          94.   Ms. Schmitt also seeks punitive damages because Younique’s conduct
   14 was reprehensible and conducted with conscious disregard of the rights of others.

   15 Many consumers try to use natural products for health reasons. Younique preyed

   16 upon this desire and sold consumers a product that was labeled as natural but was

   17 actually synthetic. In addition, many class members suffered eye irritation because

   18 they used the Product believing it was natural when it was composed of ground-up
   19 nylon.

   20          95.   Ms. Schmitt also seeks restitution, costs, attorneys’ fees, and any other
   21 relief available under the CLRA.

   22
                           FOURTH CAUSE OF ACTION
         BREACH OF EXPRESS WARRANTY UNDER CALIFORNIA LAW, CAL.
   23                      COM. CODE §§ 2313 and 10210
   24           (On behalf of Ms. Schmitt and the California Subclass)

   25
               96.   Plaintiffs repeat and reallege each and every allegation contained in the
   26
        foregoing paragraphs as if fully set forth herein.
   27
                                                    20
   28
                                   SECOND AMENDED CLASS ACTION COMPLAINT
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    1         97.     Younique was at all relevant times a “merchant” and a “seller” within
    2 the meaning of Cal. Com. Code §§ 2104(1), 10103(c) and § 2103 (1)(d).

    3         98.     The Products, at all relevant times, were “goods” within the meaning of
    4 Cal. Com. Code §§ 2105(1) and 10103(a)(8).

    5         99.     On the Product’s packaging, Younique expressly warranted to all
    6 purchasers that the Natural Fibers component of the Product was “natural” and

    7 composed of green tea fibers.

    8         100. Younique knowingly breached its warranty because the Natural Fibers
    9 component of the Product was not “natural” and did not consist of green tea leaves.

   10         101. As a result, Ms. Schmitt and the members of the California Subclass
   11 are entitled to damages in an amount to be determined at trial.

   12
                                    FIFTH CAUSE OF ACTION
                    BREACH OF IMPLIED WARRANTY OF MERCHANTABLITY
   13                    UNDER CALIFORNIA LAW, COM. CODE § 2314
   14                   (On behalf of Ms. Schmitt and the California Subclass)
              102.    Plaintiffs repeat and reallege each and every allegation contained in all
   15
        the foregoing paragraphs as if fully set forth herein.
   16
              103. An implied warranty of merchantability arose as a matter of law in
   17
        connection with the sale of the Products.
   18
              104. The Products are “goods” under the Cal. Com. Code § 2314(1).
   19
              105. Younique is a “merchant” with respect to the sale of the Products.
   20
              106. Under Cal. Com. Code § 2314(2)(f) goods must “Conform to the
   21
        promises or affirmations of fact made on the container or label if any.”
   22
              107. On the Product’s packaging, Younique promised and affirmed to all
   23
        purchasers that the Natural Fibers component of the Product was “natural” and
   24
        composed of green tea fibers.
   25
              108. Younique knowingly breached these promises and affirmations because
   26
        the Natural Fibers component of the Product was not “natural” and did not consist of
   27
                                                    21
        green tea leaves.
   28
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    1         109. Younique was notified of these issues by Ms. Schmitt’s August 23,
    2 2017 letter.

    3         110. As a result, Ms. Schmitt and the members of the California Subclass
    4 are entitled to damages in an amount to be determined at trial.

    5
                              SIXTH CAUSE OF ACTION
             VIOLATION OF FLORIDA’S UNFAIR AND DECEPTIVE TRADE
    6               PRACTICES ACT, FLA. STAT. § 501.201, et seq.
    7               (on behalf of Ms. Reilly and the Florida Subclass)
              111. Plaintiffs repeat and reallege each and every allegation contained in all
    8
        the foregoing paragraphs as if fully set forth herein.
    9
              112. Ms. Reilly is a consumer under Fla. Stat. § 501.203(7).
   10
              113. Younique was engaged in commerce under Fla. Stat. § 501.203(8).
   11
              114. The Florida Unfair and Deceptive Trade Practices Act at Fla. Stat. §
   12
        501.204(1) prohibits “unfair methods of competition, unconscionable acts or
   13
        practices, and unfair or deceptive acts of practices in the conduct of any trade or
   14
        commerce.”
   15
              115. Younique engaged in misleading, false, unfair, and/or deceptive acts
   16
        and practices by misrepresenting to consumers that the Natural Fibers component of
   17
        the Product was “natural” and contained only green tea leaves. In fact, the Natural
   18
        Fibers component consisted of ground-up nylon.
   19
              116. Ms. Reilly and the Florida Subclass members were deceived by this
   20
        conduct and suffered ascertainable loss and actual damages as a direct and
   21
        proximate result of these misrepresentations. Had Ms. Reilly or members of the
   22
        Florida Subclass known the truth about the Product, they would not have purchased
   23
        it or would not have paid as much as they did for it.
   24
              117. Ms. Reilly and the Florida Subclass seek damages, attorneys’ fees and
   25
      all other appropriate relief under the Florida Deceptive Trade Practices Act.
   26
                                SEVENTH CAUSE OF ACTION
   27      VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
                                                  22
   28                   (On behalf of Ms. Brun and the Ohio Subclass)
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    1        118. Plaintiffs repeat and reallege each and every allegation contained in the
    2 foregoing paragraphs as if fully set forth herein.

    3        119. Ohio’s Consumer Sales Practices Act prohibits unfair or deceptive acts
    4 or practices in connections with consumer transactions.

    5        120. Ms. Brun and the members of the Ohio Subclass are “persons” and
    6 “consumers” within the meaning of Ohio Rev. Code § 1345.01 and Younique is a

    7 “supplier” within the meaning of Ohio Rev. Code § 1345.01 (C).

    8        121. The purchase of the Products is a “consumer transaction” within the
    9 meaning of Ohio Rev. Code § 1345.01 (A).

   10        122. Younique’s conduct was willful.
   11        123. Younique violated the Act by representing that the Natural Fibers
   12 component of the Product was “natural” and contained only green tea fibers and by

   13 advertising the Products with the intention of not selling them as advertised.

   14        124. Defendant was on notice that its conduct violated the Consumer Sales
   15 Practices Act because of the following decisions:

   16               (a) State ex rel DeWine v. US Beef Cincinnati LLC, July 7, 2016
   17               Attorney General Public Inspection File Number 3273 (“Defendants
   18               committed unfair and deceptive acts and practices in violation of the
   19               CSPA by: representing that the subject of a consumer transaction was
   20               of a particular standard, quality, grade, style, prescription, or model,
   21               when it was not”).
   22               (b) Ohio v. GlaxoSmithKline, LLC, June 23, 2011, Lucas County Case
   23               Number CI-2011-3928, Attorney General Public Inspection File
   24               Number 10002956 (along with paying $40.75 million, company shall
   25               not make any written or oral claim for the products that is false,
   26               misleading or deceptive or represent that the products have
   27               sponsorship, approval, characteristics, ingredients, uses, benefits,
                                                   23
   28
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    1               quantities, or qualities that products do not have, or cause likelihood or
    2               confusion or misunderstanding as to products’ source, sponsorship, or
    3               certification).
    4               (c) Ohio v. The Dannon Co., Inc., December 22, 2010, Franklin County
    5               Case Number 10-CVH-12-18225, Attorney General Public Inspection
    6               File number (along with $21 million payment, company enjoined from
    7               making any express or implied claims about certain characteristics of
    8               its product);
    9               (d) In the Matter of Gateway Distributors, Ltd., June 14, 2006,
   10               Attorney General Public Inspection File Number 10002461 (company
   11               “shall not make any express or implied statements in the offer or sale of
   12               [its] products that have capacity, tendency or effect of deceiving or
   13               misleading consumers or that fail to state any material fact, the
   14               omission of which deceives or tends to deceive consumers”);
   15         125. In addition, a section of the Ohio Administrative Code puts Younique
   16 on notice that its conduct was unlawful:

   17

   18
                    It shall be a deceptive act or practice in connection with a consumer
                    transaction for a supplier to:
   19

   20
                    (A) Make any representations, claims, or assertions of fact, whether
                    orally or in writing, which would cause a reasonable consumer to
   21               believe such statements are true, unless, at the time such
   22               representations, claims, or assertions are made, the supplier possesses
                    or relies upon a reasonable basis in fact such as factual, objective,
   23               quantifiable, clinical or scientific data or other competent and reliable
   24               evidence which substantiates such representations, claims, or assertions
                    of fact.
   25
        Ohio Adm. Code section 109-4-3-10.
   26
              126. At least one court has found that this code section constitutes sufficient
   27
        notice in a false labeling case. See Delahunt
                                                  24 v. Cytodyne Techs., 241 F. Supp. 2d
   28
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    1 827, 838 (S.D. Ohio 2003) ("If the Plaintiff is correct, the Defendants' act of affixing

    2 a misleading label to their product clearly constitutes making a misrepresentation

    3 that causes a reasonable consumer to believe such statement is true when there was

    4 no basis in fact to substantiate that representation.”).

    5         127. Ms. Brun seeks actual and treble damages, attorneys’ fees, costs, and
    6 any other just and proper relief under the Consumer Sales Practices Act.

    7
                        EIGHTH CAUSE OF ACTION
      FOR VIOLATION OF THE OHIO DECEPTIVE TRADE PRACTICES ACT,
    8                OHIO REV. CODE § 4165.01, et seq.
    9
                 (On behalf of Ms. Brun and the Ohio Subclass)
              128. Plaintiffs repeat and reallege each and every allegation contained in the
   10
        foregoing paragraphs as if fully set forth herein.
   11
              129. The Ohio Deceptive Trade Practices Act prohibits misrepresentations
   12
        that goods have “sponsorship, approval, characteristics, ingredients, uses, benefits or
   13
        quantities that they do not have” or that goods “are of a particular standard, quality,
   14
        or grade… if they are of another,” or if a person “advertises goods or services with
   15
        intent not to sell them as advertised.” Ohio Rev. Code §4165.02(A)(7), (9), (11).
   16
              130. Younique, Ms. Brun, and the members of the Ohio Subclass are
   17
        “persons” within the meaning of Ohio Rev. Code § 4165.01(D).
   18
              131. Younique committed the wrongful acts alleged herein in the course of
   19
        its business within the meaning of Ohio Rev. Code § 4165.02(A).
   20
              132. Younique has violated the Ohio Deceptive Trade Practices Act by
   21
        representing that the Natural Fibers component of the Products was “natural” and
   22
        contained only green tea fibers and by advertising the Products with the intention of
   23
        not selling them as advertised.
   24
              133. Ms. Brun and the Ohio Subclass seek actual and punitive damages,
   25
        attorneys’ fees, costs, and any other just and proper relief under the Deceptive Trade
   26
        Practices Act.
   27
                                                    25
              ///
   28
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    1
                            NINTH CAUSE OF ACTION
                BREACH OF EXPRESS WARRANTY UNDER OHIO LAW
    2                (On behalf of Ms. Brun and the Ohio Subclass)
    3        134. Plaintiffs repeat and reallege each and every allegation contained in the
    4 foregoing paragraphs as if fully set forth herein.

    5        135. Younique was a “seller” and “merchant” under Ohio Rev. Code §
    6 1302.01(4)-(5).

    7        136. The Products were “goods” under Ohio Rev. Code § 1302.01(8).
    8        137. On the Product’s packaging, Younique warranted to all purchasers that
    9 the Natural Fibers component of the Product was “natural” and composed of green

   10 tea fibers.

   11        138. Younique knowingly breached its warranty because the Natural Fibers
   12 component of the Product was not “natural” and did not consist of green tea leaves.

   13        139. Notice to Younique would have been futile, since Ms. Brun and other
   14 consumers had no way of knowing that the Natural Fibers component of the Product

   15 was not natural and composed of ground-up nylon.

   16        140. In any case, Younique was provided notice of this breach by the CLRA
   17 letter sent by Ms. Schmitt on August 23, 2017.

   18        141. As a result, Ms. Brun and the members of the Ohio Subclass are
   19 entitled to their damages in an amount to be determined at trial.

   20
                            TENTH CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY UNDER OHIO LAW
   21                (On behalf of Ms. Brun and the Ohio Subclass)
   22        142. Plaintiffs repeat and reallege each and every allegation contained in the
   23 foregoing paragraphs as if fully set forth herein.

   24        143. Younique was a “seller” and “merchant” under Ohio Rev. Code §
   25 1302.01(4)-(5).

   26        144. The Products were “goods” under Ohio Rev. Code § 1302.01(8).
   27        145. An implied warranty of merchantability that the Products conformed
                                                  26
   28
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    1 with the promises and affirmations of fact on the container and label of the Products

    2 arose under Ohio Rev. Code § 1302.27(6).

    3         146. Defendant made promises and affirmations of fact on the container and
    4 label of the Product that the Product contained “Natural Fibers” and “100% Natural

    5 Green Tea Fibers.”

    6         147. These promises and affirmations of fact were false. The fibers in the
    7 Product were not natural and did not contain 100% natural green tea fibers.

    8         148. Accordingly, Defendant breached the implied law of merchantability in
    9 connection with the sale of the Products.

   10         149. Younique was provided notice of this breach by the CLRA letter sent
   11 by Ms. Schmitt on August 23, 2017.

   12         150.    As a result, Ms. Brun and the members of the Ohio Subclass are
   13 entitled to their damages in an amount to be determined at trial.

   14
                            ELEVENTH CAUSE OF ACTION
              VIOLATION OF TENNESSEE CONSUMER PROTECTION ACT,
   15                    TENN. CODE ANN. § 47-18-101, et seq.
   16             (On behalf of Ms. Orlowsky and the Tennessee Subclass)
              151. Plaintiffs repeat and reallege each and every allegation contained in the
   17
        foregoing paragraphs as if fully set forth herein.
   18
              152. Ms. Orlowsky and the members of the Tennessee Subclass are “natural
   19
        persons” and “consumers” under Tenn. Code § 47-18-103(2).
   20
              153. Younique is a “person” under Tenn. Code § 47-18-103(9).
   21
              154. Younique’s sales of the Products constitute “consumer transactions”
   22
        under Tenn. Code § 47-18-103(9).
   23
              155. The Tennessee Consumer Protection Act prohibits “unfair or deceptive
   24
        acts or practices affecting the conduct of any trade or commerce.”
   25
              156. Younique’s conduct in misrepresenting that the Natural Fibers
   26
        component of the Products was “natural” and contained only green tea fibers
   27
                                                   27
        constitutes an “unfair or deceptive act or practice affecting the commerce of any
   28
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    1 trade or commerce.”

    2        157. Younique’s conduct was willful and knowing.
    3        158. Ms. Orlowsky and the Tennessee Subclass seek actual and treble
    4 damages, punitive damages, attorneys’ fees and costs and any other just and proper

    5 relief under the Tennessee Consumer Protection Act, § 47-18-109(a)(3).

    6
                           TWELFTH CAUSE OF ACTION
            BREACH OF EXPRESS WARRANTY UNDER TENNESSEE LAW
    7           (On behalf of Ms. Orlowsky and the Tennessee Subclass)
    8        159. Plaintiffs repeat and reallege each and every allegation contained in the
    9 foregoing paragraphs as if fully set forth herein.

   10        160. Younique is a “merchant” and “seller” under Tenn. Code § 47-2A-103.
   11        161. The Products are “goods” under Tenn. Code §§ 47-2-105(1) and 47-
   12 2A-103(1)(h).

   13        162. On the Product’s packaging, Younique warranted to all purchasers that
   14 the Natural Fibers component of the Product was “natural” and composed of green

   15 tea fibers.

   16        163. Younique knowingly breached its warranty because the Natural Fibers
   17 component of the Product was not “natural” and did not consist of green tea leaves.

   18        164. Notice to Younique would have been futile, since Ms. Orlowsky and
   19 other consumers had no way of knowing that the Natural Fibers component of the

   20 Product was not natural and composed of ground-up nylon.

   21        165. In any case, Younique was provided notice of this breach by the CLRA
   22 letter sent by Ms. Schmitt on August 23, 2017.

   23        166. As a result of Younique’s breach, Ms. Orlowsky and the members of
   24 the Tennessee Subclass have been damaged in an amount to be determined at trial.

   25                   THIRTEENTH CAUSE OF ACTION
            BREACH OF IMPLIED WARRANTY UNDER TENNESSEE LAW
   26           (On behalf of Ms. Orlowsky and the Tennessee Subclass)
   27        167. Plaintiffs repeat and reallege each and every allegation contained in the
                                                  28
   28
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    1 foregoing paragraphs as if fully set forth herein.

    2        168. Younique is a “merchant” and “seller” under Tenn. Code § 47-2-103.
    3        169. The Products are “goods” under Tenn. Code § 47-2-103.
    4        170. An implied warranty of merchantability arose under Tenn. Code § 47-
    5 2-314 with respect to the sale of the Products.

    6        171. Defendant made promises and affirmations of fact on the container and
    7 label of the Product that the Product contained “Natural Fibers” and “100% Natural

    8 Green Tea Fibers.”

    9        172. These promises and affirmations of fact were false. The fibers in the
   10 Product were not natural and did not contain 100% natural green tea fibers.

   11        173. Accordingly, Defendant breached the implied law of merchantability in
   12 connection with the sale of the Products.

   13        174. Younique was provided notice of this breach by the CLRA letter sent
   14 by Ms. Schmitt on August 23, 2017.

   15        175.   As a result, Ms. Orlowsky and the members of the Tennessee Subclass
   16 are entitled to their damages in an amount to be determined at trial.

   17                                   PRAYER FOR RELIEF
   18        WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly
   19 situated, pray for judgment as follows:

   20     (a) Declaring this action to be a proper class action and certifying Plaintiffs as the
   21        representatives of the nationwide Class under Rule 23 of the FRCP;
   22     (b) Certifying Plaintiffs as the class representatives of the state Subclasses of the
   23        states in which they reside;
   24     (c) Appointing counsel as class counsel for the national class and any state
   25        Subclasses;
   26     (d) Awarding monetary damages, including treble damages;
   27     (e) Awarding punitive damages;
                                                   29
   28
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    1     (f) Awarding Plaintiffs and Class Members their costs and expenses incurred in
    2        this action, including reasonable attorneys’ fees, and reimbursement of
    3        Plaintiff’s expenses; and
    4     (g) Granting such other and further relief as the Court may deem just and proper.
    5
        Dated: January 4, 2018              NYE, PEABODY, STIRLING, HALE &
    6                                       MILLER, LLP
    7
                                            By: /s/
    8                                           Jonathan D. Miller, Esq.
                                                Alison M. Bernal, Esq.
    9
        Dated: January 4, 2018              CARLSON LYNCH SWEET
   10                                       KILPELA & CARPENTER, LLP
   11
                                            By: /s/
   12                                           Todd D. Carpenter, Esq.
   13
        Dated: January 4, 2018              THE SULTZER LAW GROUP P.C.
   14

   15                                       By: /s/
                                                Jason P. Sultzer, Esq.
   16                                           Joseph Lipari, Esq.
                                                Adam Gonnelli, Esq.
   17                                           Jeremy Francis, Esq.
   18   Dated: January 4, 2018              WALSH, LLC
   19
                                            By: /s/
   20                                           Bonner Walsh, Esq.
   21
                                            Attorneys for Plaintiffs and the Class
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                                 SECOND AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 58 Filed 01/04/18 Page 31 of 31 Page ID #:333




    1                            DEMAND FOR JURY TRIAL
    2        Plaintiffs hereby demand a trial by jury of all claims so triable in the above
    3 referenced-matter.

    4
        Dated: January 4, 2018              NYE, PEABODY, STIRLING, HALE &
    5                                       MILLER, LLP
    6
                                            By: /s/
    7                                           Jonathan D. Miller, Esq.
                                                Alison M. Bernal, Esq.
    8

    9   Dated: January 4, 2018              CARLSON LYNCH SWEET
                                            KILPELA & CARPENTER, LLP
   10

   11                                       By: /s/
                                                Todd D. Carpenter, Esq.
   12
        Dated: January 4, 2018              THE SULTZER LAW GROUP P.C.
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   14                                       By: /s/
                                                Jason P. Sultzer, Esq.
   15                                           Joseph Lipari, Esq.
                                                Adam Gonnelli, Esq.
   16                                           Jeremy Francis, Esq.
   17   Dated: January 4, 2018              WALSH, LLC
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                                            By: /s/
   19                                           Bonner Walsh, Esq.
   20
                                            Attorneys for Plaintiffs and the Class
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